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                        UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA

                                               )
    WILMER GARCIA RAMIREZ, et al.,             )
                                               )
                Plaintiffs,                    )
                                               ) Civil Action No. 1:18-cv-00508-RC
         v.                                    )
                                               )
    UNITED STATES IMMIGRATION                  ) Class Action
    AND CUSTOMS ENFORCEMENT, et                )
    al.,                                       )
                                               )
                Defendants.                    )
                                               )

                                 NOTICE OF APPEAL

        Defendants, the U.S. Immigration and Customs Enforcement (“ICE”), U.S.

Department of Homeland Security (“DHS”), Tae D. Johnson 1, in his official capacity as

Director of ICE, and Alejandro N. Mayorkas 2, in his official capacity as Secretary of DHS,

hereby notify their appeal of the permanent injunction order and judgment entered by the

Honorable Judge Rudolph Contreras on September 21, 2021, ECF Nos. 367, 368, and as

amended on November 10, 2021, ECF No. 378, to the United States Court of Appeals for

the District of Columbia Circuit. The permanent injunction order and judgment is an

appealable final decision of the district court under 28 U.S.C. § 1291.




1
        Pursuant to Federal Rule of Civil Procedure 25(d), Tae D. Johnson is automatically
substituted as a party for Thomas Homan.
2
        Likewise, Alejandro N. Mayorkas is automatically substituted as a party for
Kirstjen M. Nielsen. Fed. R. Civ. P. 25(d).
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DATED: January 7, 2022            Respectfully submitted,

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                                  /s/ Cara E. Alsterberg
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